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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 CARL BERRY,                                  :      Case No. 1:18-cv-207
                                              :
        Plaintiff,                            :      Judge Timothy S. Black
                                              :
 vs.                                          :      Magistrate Judge Stephanie K.
                                              :      Bowman
 COMMISSIONER OF SOCIAL                       :
 SECURITY,                                    :
                                              :
        Defendant.                            :

                         DECISION AND ENTRY
             ADOPTING THE REPORT AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE (Doc. 28)

       This case is before the Court pursuant to the Order of General Reference to United

States Magistrate Judge Stephanie K. Bowman. Pursuant to such reference, the

Magistrate Judge reviewed the pleadings filed with this Court and, on May 14, 2020,

submitted a Report and Recommendation. (Doc. 28). No objections were filed.

       As required by 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b), the Court has

reviewed the comprehensive findings of the Magistrate Judge and considered de novo all

of the filings in this matter. Upon consideration of the foregoing, the Court finds that the

Report and Recommendation should be and is hereby adopted in its entirety.

       Accordingly, for the reasons stated above:

       1.     The Report and Recommendation (Doc. 28) is ADOPTED;

       2.     Plaintiff’s motion for an award of attorney fees (Doc. 24) is CONSTRUED
              as if filed under 42 U.S.C. § 1383(d);
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        3.      Plaintiff’s motion for attorney fees (Doc. 24) is GRANTED in part and
                DENIED in part;

        4.      Specifically, counsel is AWARDED a net fee of $4,538.02 for the reasons
                set forth in the Report and Recommendation (Doc. 28);1 and

        5.      This case shall remain CLOSED upon the docket of this Court.

        IT IS SO ORDERED.

Date:        10/16/2020                                          s/Timothy S. Black
                                                               Timothy S. Black
                                                               United States District Judge




1
  Plaintiff’s counsel did not submit a copy of Plaintiff’s fee agreement in connection with the
motion for attorney fees. (Doc. 28 at 5 n.5, 15). Given this omission, the Magistrate Judge
recommended that this Court condition counsel’s fee award on counsel’s submission of a copy of
the fee agreement. (Id. at 15). Following the Magistrate Judge’s issuance of the Report and
Recommendation, counsel submitted a copy of the fee agreement. (Doc. 29). As such, the Court
concludes that the Magistrate Judge’s appropriate condition has been sufficiently satisfied, and
that it is appropriate to award the fees recommended by the Magistrate Judge in the Report and
Recommendation. (Doc. 28 at 15).

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